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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                        GAINESVILLE DIVISION

SUANNE M. CLAYTON,            :
                              :
     Plaintiff,               :
                              :
v.                            :               CIVIL ACTION
                              :               NO. 2:12-CV-00237-WCO
DR. JAMES CRAIG, M.D.,        :
SOUTHERN HEALTH CORP. OF      :
ELLIJAY, INC. d/b/a NORTH     :
GEORGIA MEDICAL CENTER, and :
SUNLINK HEALTH SYSTEMS, INC., :
                              :
     Defendants.              :

                                      ORDER

      The court has before it for consideration the magistrate judge’s March 11, 2013,

“Order and Non-Final Report and Recommendation” (“R&R”) [30]. Pursuant to 28

U.S.C. § 636(b)(1), defendant Southern Health Corp. of Ellijay, Inc. (“Southern

Health”) has filed timely objections to the R&R. (Objections, ECF No. 33.) No other

objections have been filed.

      I.    Factual and Procedural Background

      The parties have not objected to the facts and procedural history as set forth in

the R&R, and, finding no plain error, the court adopts them.

      Plaintiff is a nurse who worked for Southern Health with Dr. James Craig

(“Craig”). (R&R 1, ECF No. 30.) Sunlink Health Systems, Inc. (“Sunlink”) is
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Southern Health’s parent company. (Id.) Plaintiff alleges that while she worked with

Craig, he was involved in an open sexual relationship with the office’s nurse

supervisor, Meredith Holmes (“Holmes”). (Id.) Plaintiff further alleges that Holmes

was hired in a supervisory role even though she had no nursing license, primarily

because she was involved in a sexual relationship with Craig. (Id. at 1–2.) Plaintiff

claims she was required to cover for Craig while he had sex with Holmes at the office

during work hours. (Id. at 2.)

      Plaintiff also alleges that she was subjected to sexual comments, innuendo, and

gestures while working with Craig. (Id.) She claims Craig would sexually touch

Holmes in her presence, that Craig displayed pictures of himself “dressed only in his

underwear,” and that he displayed underwear belonging to Holmes and inscribed with

the phrase “I love Dr. Craig.” (Id.) Plaintiff also asserts that Craig called her a whore,

teased her about being a prude, and suggested she have an affair despite being

married. (Id.)

      Plaintiff claims that when she objected to Holmes and Craig about their

behavior, she received no response. (Id.) Plaintiff then shared her concerns with

Southern Health, from whom she again received no response. (Id.) Plaintiff alleges

that Craig then proceeded to fabricate a story that she was involved in an affair with




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a patient. (Id.) According to plaintiff, Southern Health adopted Craig’s story without

properly investigating the situation and subsequently terminated her. (Id.)

      On October 9, 2012, plaintiff filed her complaint in which she alleged that

defendants discriminated and retaliated against her in violation of Title VII of the

Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e et seq. (“Title VII”). (Id.

at 4; Compl., ECF No. 1.) Plaintiff also asserted state law claims for sexual

harassment, retaliatory termination, negligent hiring, negligent supervision, tortious

interference, slander, libel, and defamation. (R&R 4.) Craig and Sunlink then filed

motions to dismiss plaintiff’s complaint for failing to state a claim, and Southern

Health filed a partial motion to dismiss for failure to state a claim and a motion for a

more definite statement. (Id. at 4.) On December 24, 2012, plaintiff filed an

Amended Complaint, which added a claim for intentional infliction of emotional

distress against all defendants. (Id. at 4–5.) That same day, she also filed responses

to each of the defendants’ pending motions. (Id.)

      On January 7, 2013, each defendant filed a motion to dismiss the Amended

Complaint for failure to state a claim. (Id.) They also filed a joint motion to stay

discovery pending the resolution of their motions to dismiss. (Id.; Mot. Stay, ECF No.

21.) Plaintiff filed responses in opposition to all of defendants’ pending motions on




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January 22, 2013, including their joint motion to stay. (R&R 5.) On February 5,

2013, defendants jointly filed a reply. (Id.)

       On March 11, 2013, the magistrate judge recommended dismissing Sunlink’s

first “Motion to Dismiss” [5], Craig’s first “Motion to Dismiss” [6], Southern Health’s

“Partial Motion to Dismiss” [7], and Southern Health’s “Motion for More Definite

Statement” [8] as moot. (Id. at 5–6.) The R&R further recommended granting in part

and denying in part Craig’s second “Motion to Dismiss” [17], Sunlink’s second

“Motion to Dismiss” [18], and Southern Health’s second “Motion to Dismiss” [19].

(Id. at 3.) The magistrate judge also granted defendants’ “Motion to Stay Discovery”

[21] and stayed discovery until after this court ruled on defendants’ pending motions

to dismiss. (Id. at 4.) On March 25, 2013, Southern Health filed objections to the

R&R.

       II.   STANDARD OF REVIEW

       In accordance with 28 U.S.C. § 636(b)(1) and Rule 72 of the Federal Rules of

Civil Procedure, the court must conduct a careful, de novo review of those portions

of the R&R to which Southern Health has objected. The court need only review the

remaining portions of the R&R for plain error. United States v. Slay, 714 F.2d 1093,

1095 (11th Cir. 1983).




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      III.   ANALYSIS

      Southern Health’s objections are limited to the magistrate judge’s disposition

of Count V of the Amended Complaint, which asserts claims for negligent hiring,

retention, and supervision under Georgia law. (Objections 2.) The magistrate judge

noted that plaintiff alleged “two separate theories of negligent hiring, retention, and

supervision against Southern Health.” (R&R 25.) First, plaintiff asserted that

Southern Health “breached [its] duty to properly hire, retain, and provide proper

supervision over health care personal [sic] when [it] allowed an unlicensed

professional, Meredith Holmes, to perform the duties of a nurse . . . .” (Id. (quoting

Am. Compl. ¶ 63).) Second, plaintiff asserted that “Southern Health breached its duty

to supervise individuals when it ‘allow[ed] the relationships between Dr. Craig and

Meredith Holmes to continue,’ ‘fail[ed] to properly investigate Plaintiff’s claims of

sexual discrimination and harassment, and tolerat[e]d the intimidating, hostile, and

offensive work environment at Dr. Craig’s.’” (Id. at 26 (quoting Am. Compl. ¶ 64).)

      The magistrate judge recommended dismissing plaintiff’s first theory because

plaintiff failed to identify the underlying tort forming the basis of her claim and failed

to allege any facts suggesting a causal connection between Holmes’s lack of a nursing

license and the injuries plaintiff allegedly suffered. (Id. 24–27.) As to the second

theory, however, the magistrate judge noted that


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                Southern Health [did] not discuss Plaintiff’s claim that it
                breached its duty to supervise individuals in its employ by
                allowing the relationships between Dr. Craig and Ms.
                Holmes to continue, failing to properly investigate
                Plaintiff’s claims of sexual discrimination and harassment,
                and tolerating an intimidating, hostile, and offensive work
                environment at Dr. Craig’s office.

(Id. at 26.) For that reason, the magistrate judge permitted plaintiff’s second theory

of negligent hiring, retention, and supervision to proceed. (Id.)

       Southern Health argues that the magistrate judge erred in allowing plaintiff’s

second theory to proceed for two reasons. (Objections 3–5.) First, Southern Health

argues that the magistrate judge erred in construing plaintiff’s complaint as raising

two separate theories of negligent hiring, retention, and supervision. (Id. at 3.)

Rather, it contends that “the alleged workplace ‘defect’ at issue is Ms. Holmes’

supposed lack of a nursing license,” and therefore the claim should be dismissed in

its entirety. (Id.) Second, Southern Health argues that even if the second theory is

advanced in plaintiff’s complaint, it fails to state a claim because it does not allege a

causal connection between Holmes’s behavior and plaintiff’s claimed injuries.1 (Id.

at 3–5.)




       1
        Southern Health’s arguments are limited to Holmes, even though the allegations in the
complaint allege a failure to supervise both Holmes and Craig.

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       Upon review, the court finds no merit in Southern Health’s first objection.

While the Amended Complaint is structured in such a way that makes it difficult to

determine which factual allegations plausibly support each claim,2 it clearly alleges

in Count V that

                Defendant Southern Health Corp. and Sunlink Health
                Systems breached their duty to properly supervise
                individuals in their employ by allowing the relationship
                between Dr. Craig and Meredith Holmes to continue, by
                failing to properly investigate Plaintiff’s claims of sexual
                discrimination and harassment, and tolerating the
                intimidating, hostile and offensive work environment at Dr.
                Craig’s office.

(Am. Compl. ¶ 64.) These allegations stand separate and apart from allegations

concerning Holmes’s lack of a nursing license, and therefore the magistrate judge

properly construed it as a separate theory of recovery. (See id. ¶¶ 62–71.)

       Defendant’s second objection, that plaintiff fails to allege a causal connection

between Holmes’s behavior and plaintiff’s claimed injuries, also lacks merit.3 To state

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         Indeed, the R&R explicitly noted that plaintiff’s Amended Complaint was a “typical
‘shotgun’ pleading” that has been condemned by the Eleventh Circuit. (R&R 6.)
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          As the magistrate judge noted, Southern Health’s motion to dismiss largely ignored
plaintiff’s allegations that it was aware of Craig and Holmes’s relationship and the allegedly hostile
work environment it created, even though this was clearly presented as a separate theory of recovery.
Instead, Southern Health’s motion focused on plaintiff’s allegations regarding Holmes’s lack of a
license. (R&R 26.) Southern Health now advances the same legal arguments in its objections to
the R&R that it advanced regarding Holmes’s lack of a license, but with a focus on plaintiff’s
negligent supervision claim. Such arguments should have been presented to the magistrate judge
for consideration. As they were not, the court could exercise its discretion and decline to consider
them. See Williams v. McNeil, 557 F.3d 1287, 1292 (11th Cir. 2009) (“[A] district court has

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a claim for negligent supervision, plaintiff had to allege facts indicating that Southern

Health “reasonably knew or should have known of [Holmes’s] ‘tendencies’ to engage

in certain behavior relevant to the injuries allegedly incurred by the plaintiff.”

Munroe v. Universal Health Servs., 596 S.E.2d 604, 606 (Ga. 2004). “The employer

is subject to liability only for such harm as is within the risk.” Id. (quoting

RESTATEMENT (SECOND) OF AGENCY § 213 cmt. d (2004)); see also Tomczyk v. Jocks

& Jills Rests., LLC, 198 F.App’x 804, 815 (11th Cir. 2006) (applying Georgia law).

       Southern Health contends that plaintiff’s claim fails to allege that it knew or

should have known about Craig and Holmes’s sexual behavior. Specifically, it

contends that “plaintiff makes no allegations of any prior sexual harassment conduct

of Holmes or any prior conduct which could possibly put Defendants on notice of any

potential tendencies to engage in sexual harassment by Holmes.” (Objections 5.)

However, plaintiff does allege that Southern Health “was fully aware of the

relationship between Dr. James Craig and Meredith Holmes as well as the

inappropriate sexually-charged atmosphere at Dr. Craig’s office” both before and after

plaintiff complained about Craig and Holmes’s relationship. (Am. Compl. ¶¶ 25–26.)

She further alleges that despite this knowledge and plaintiff’s complaints, Southern


discretion to decline to consider a party’s argument when that argument was not first presented to
the magistrate judge.”). However, because these legal arguments were presented to the magistrate
judge in a tangential fashion and they potentially narrow the remaining issues in this case, the court
will exercise its discretion and consider them on their merits.

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Health failed to “appropriately discipline either James Craig or Meredith Holmes.”

(Id.) She also alleges that because of Craig and Holmes’s conduct, she “couldn’t eat,

became physically ill, and suffered from depression as a result of the stress created by

Ms. Holmes and Defendant Craig’s actions,” and “suffered special damages, including

loss of wages, benefits of employment, and medical expenses.” (Id. ¶¶ 67, 69.)

Contrary to defendant’s objections, the court finds these allegations sufficient to state

a claim for negligent supervision.

      This case is distinguishable from factually analogous cases such as Bailey v.

Urology Center of Columbus, LLC. No. 4:11-CV-42 (CDL), 2011 WL 3568144

(M.D. Ga. Aug. 15, 2011). In Bailey, the plaintiff asserted a negligent supervision

claim that alleged the company knew of and condoned improper employee

relationships that created a hostile work environment. The court dismissed plaintiff’s

claim under Rule 12(b)(6) because the plaintiff failed to “allege any facts regarding

how [the] alleged relationship created a hostile work environment, to whom the

alleged hostile work environment was directed, whether the alleged hostile work

environment was unlawful because it was based on a protected trait, or whether [the

employees’] conduct materially altered the terms and conditions of any employee’s

employment.” Id. at *5. Here, however, the magistrate judge specifically found that

plaintiff had “met her burden at this stage of the litigation” to adequately allege


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sufficient facts to state a plausible claim for sexual harassment, and all three of

plaintiff’s Title VII claims (sexual discrimination, retaliatory termination, and sexual

harassment) remain pending against Southern Health. (Id. at 12–13.) Furthermore,

while plaintiff does not provide specific facts that suggest how Southern Health

should have known of Craig and Holmes’s relationship before plaintiff complained,

plaintiff does allege that Southern Health failed to respond to or appropriately

investigate her complaints and that this failure permitted Craig to retaliate against

plaintiff by fostering rumors that sullied plaintiff’s personal and professional

reputation and ultimately led to her termination. (Am. Compl. ¶¶ 26–31, 83–84.)

Accepting these factual allegations as true, the court finds that at this stage of the

litigation, plaintiff has adequately stated a claim for negligent supervision.

      IV.    CONCLUSION

      For the foregoing reasons, the court finds that Southern Health’s “Objections”

[33] to the R&R are without merit and are hereby OVERRULED. No other party

filed objections to the R&R, and apart from the discussion set forth above, the court

hereby APPROVES and ADOPTS the R&R [30] as the order of this court.

      IT IS SO ORDERED, this 29th day of April, 2013.


                                               s/William C. O’Kelley
                                               WILLIAM C. O’KELLEY
                                               Senior United States District Judge



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